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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                                No. CV-19-00239-PHX-GMS
10                 Plaintiff,                         ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                 Defendants.
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16         Pending before the Court is Defendants’ Unopposed Motion to Continue the

17   Rebuttal Disclosure Dates (Doc. 49), and good cause shown,
18         IT IS HEREBY ORDERED granting Defendants’ Unopposed Motion (Doc. 49)

19   and amending the deadline set forth in the April 12, 2019 Case Management Order

20   (Doc. 14), as modified by the Court’s Orders of October 8, 2019 (Doc. 29), January 27,
21   2020 (Doc. 37), February 24, 2020 (Doc. 39), March 20, 2020 (Doc. 42), April 28, 2020
22   (Doc. 44), and July 14, 2020 (Doc. 46), are further modified as follows:

23         1.     Rebuttal expert disclosures shall be made no later than October 27, 2020.

24         Dated this 27th day of October, 2020.

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